Case 2:22-cv-01381-MRW Document 8 Filed 03/10/22 Page 1 of 2 Page ID #:38




 1
     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Rothschild Patent Imaging, LLC
 6

 7
                      IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10
      ROTHSCHILD PATENT IMAGING,
      LLC,                                           CASE NO.: 2:22-cv-01381-MRW
11
                          Plaintiff,                 PATENT CASE
12
      v.
13

14    LINE EURO-AMERICAS CORP.,                      NOTICE OF VOLUNTARY
                                                     DISMISSAL WITHOUT
15                        Defendant.
                                                     PREJUDICE
16

17         Plaintiff Rothschild Patent Imaging, LLC (“Plaintiff” and/or “RPI”) files this
18   Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
19   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
20   by the plaintiff without order of court by filing a notice of dismissal at any time before
21   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
22   dismisses this action against Defendant LINE Euro-Americas Corp., without prejudice,
23   pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
24

25

26

27

28

                                               1
                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
Case 2:22-cv-01381-MRW Document 8 Filed 03/10/22 Page 2 of 2 Page ID #:39




 1

 2   Dated: March 10, 2022                  Respectfully submitted,
 3
                                            /s/Stephen M. Lobbin
 4                                          Stephen M. Lobbin
 5
                                            sml@smlavvocati.com
                                            SML AVVOCATI P.C.
 6                                          888 Prospect Street, Suite 200
 7                                          San Diego, California 92037
                                            (949) 636-1391 (Phone)
 8

 9                                          Attorney(s) for Plaintiff

10
                                CERTIFICATE OF SERVICE
11
           I hereby certify that on March 10, 2022, I electronically transmitted the
12
     foregoing document using the CM/ECF system for filing, which will transmit the
13
     document electronically to all registered participants as identified on the Notice of
14
     Electronic Filing, and paper copies have been served on those indicated as non-
15
     registered participants.
16                                          /s/ Stephen M. Lobbin
17                                          Stephen M. Lobbin

18

19

20

21

22

23

24

25

26

27

28

                                               2
                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
